Case 1:17-cv-20158-JEM Document 42 Entered on FLSD Docket 05/05/2020 Page 1 of 2
                       Thomas P . Xeelaïz 98219-004
                              FCT Fort Dix
                              P .O. Box 2000
                        Jolnt Base MDL , NJ 08640

David J . Smith                                         4/30/2020
Clerk of Court
11th Cir. CAP
                                             RE :17-CV-20158-JEM
         and                                     CAP 20-11487-E

Angel E . Noble                                             FlLED By     ,
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Clerk of Court
PS District Court
Southern Dis . of Florida                                       Mlt g5 2020
                                                                 ANGELA E.NOBLE
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Dear Mr . Smith and Ms. Noble:


I received notice from the 11th CAP that my case was docketed
in a letter dated April 23. 1 )recélvéd the letter on April 28,
informing me that I had a deficiency, àND notice that my case
was flled on the 16th . That makes me untimely on May 1 .

  received the TIF in a letter dated 4/8/2020 ! that was post-
marked 4/22. I was given the letter by Fort DIx on 4/29.
I received the Certificate of Interested Persons form from
the 11th Circuit in a letter yostmarked 4/20, and marked as
legal mail. The BOP stamped the letter as not meeting the
criteria for legal mail. I have sent a copy. ALSO on 4/29!
I am simply asking the courts to give me a FATR chance to comply.
If Fort Dix accepts legal mail, they must give it to the inmate
within 24 hours of receip t .

It is a clear violation of due process when the federal govern-
ment itself violates my rights guaranteed by the Constitution.
I have been denied TRPLINCS because of the ''crime'l I did not
commit, and the internet I did not use . I have been denied
legal calls repeatedly because of the homosexual nature of my
Case .

A cursory review of my Appeal will show that the police lied
about what was killing a young gay man . Lies for MONEY !

I will continue to point out the injustice of my case, and my
subsequent treatment.ll have been extorted, assaulted, beaten
in my sleep w ith a broomstick , and RAPED while IN so-called
protective custody.)
I have attemyted to file a11 your forms by the April 30 date.
This letter Is timely under the prison mailbox rule. Please be
FAIR !                           .
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